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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


UNITED STATES OF AMERICA,
                                                           Case No. 11-20493
         Plaintiff,
                                                           Honorable John Corbett O’Meara
v.

RAMON PADILLA-GUZMAN,

         Defendant.
                                                    /

                ORDER DENYING DEFENDANT’S MOTION TO DISMISS
                AND DEFENDANT’S MOTION FOR RECONSIDERATION

      This matter came before the court on defendant Ramon Padilla-Guzman’s December 27, 2013

motion to dismiss. The government filed a response January 14, 2014, and no reply was filed. Oral

argument was heard January 22, 2014.

      In his motion to dismiss, Defendant contends that a violation of the Speedy Trial Act has

occurred. However, in light of the numerous motions he himself has filed, as well as the number

of motions filed by his six co-defendants, there has been no violation of the Speedy Trial Act.

      On December 6, 2013, defendant Padilla-Guzman also filed a motion for reconsideration of

the court’s order denying his motion to revoke his order of detention pending trial. The court denied

Defendant’s previous motion August 21, 2013; therefore, more than three months passed before

Defendant filed his motion for reconsideration. In addition to the fact that the motion for

reconsideration is untimely, Defendant has failed to show a palpable defect by which the parties or

the court has been misled. Therefore, the court will deny the motion for reconsideration without oral

argument.
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     Finally, the new trial date in this case has been set for March 18, 2014. Accordingly, the court

finds that the ends of justice are served by excluding the time to the new trial date. 18 U.S.C.§

3161(h) (7).

                                             ORDER

     It is hereby ORDERED that defendant Ramon Padilla-Guzman’s December 27, 2013 motion

to dismiss is DENIED.

     It is further ORDERED that defendant Ramon Padilla-Guzman’s December 6, 2013 motion

for reconsideration is DENIED.



                                             s/John Corbett O'Meara
                                             United States District Judge
Date: January 23, 2014




      I hereby certify that a copy of the foregoing document was served upon counsel of record on
this date, January 23, 2014, using the ECF system.


                                             s/William Barkholz
                                             Case Manager




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